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  6                         UNITED STATES DISTRICT COURT
  7                      SOUTHERN DISTRICT OF CALIFORNIA
  8
      UNITED STATES OF AMERICA,             )       Case No. 13cr491-GPC
  9                                         )
                         Plaintiff,         )
 10                                         )
            v.                              )       ORDER AND JUDGMENT
 11                                         )
      COREY EVANS (11),                     )
 12                                         )
                         Defendant.         )
 13                                         )
 14         Upon motion of the UNITED STATES OF AMERICA and good cause appearing,
 15   IT IS HEREBY ORDERED that the above entitled Indictment charging COREY
 16   EVANS (Defendant) and others with one count of Conspiracy to Distribute Controlled
 17   Substances, in violation of Title 21, United States Code, Sections 841(a)(1) and 846 be
 18   dismissed as to Defendant without prejudice.
 19         IT IS FURTHER ORDERED that Defendant’s bond be exonerated.
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 21
 22   DATED: July 25, 2013
 23
                                                HON. GONZALO P. CURIEL
 24                                             United States District Judge
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